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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
 In re:                                               :
                                                      :   Chapter 11
 EARTH PRIDE ORGANICS, LLC, et al.,                   :
                                                      :   Case No. 17-13816 ELF
                          Debtors.                    :   (Jointly Administered)
                                                      :

          ORDER GRANTING APPLICATION OF THE OFFICIAL COMMITTEE OF
            UNSECURED CREDITORS TO EMPLOY OBERMAYER REBMANN
                     MAXWELL & HIPPEL LLP AS COUNSEL


          AND NOW this                  day of                        , 2017, upon consideration of

the Application of The Official Committee of Unsecured Creditors (the “Committee”) for the

bankruptcy estates of Earth Pride Organics, LLC and Lancaster Fine Foods, Inc. (the “Debtors”)

to employ Obermayer Rebmann Maxwell & Hippel LLP (“Obermayer”), as general counsel to

the Committee (the “Application”) in these bankruptcy cases, and it appearing that the

Obermayer attorneys are duly admitted to practice in this Court, and the Court being satisfied

that Obermayer does not represent any other party-in-interest or hold an interest adverse to the

Debtors in this case and is a disinterested person within the meaning of 11 U.S.C. § 101(14), it is

hereby:

          ORDERED that the Application is granted in its entirety; and it is further

          ORDERED that the Committee is hereby authorized to retain and employ Obermayer, as

general counsel in the within proceeding under Chapter 11 of the United States Bankruptcy

Code; and it is further




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          ORDERED that compensation for professional services of Obermayer shall be charged at

the a blended rate of $400.00 per hour for attorneys and $100.00 per hour for paralegals; and it is

further

          ORDERED that compensation to Obermayer is only to be allowed by order of this Court

upon submission of an application for compensation in conformity with the United States

Bankruptcy Code, applicable Bankruptcy Rules and In re Busy Beaver Building Center, Inc., 19

F.3d 833 (3rd Cir. 1994).


                                             BY THE COURT:




                                             The Honorable Eric L. Frank
                                             Chief United States Bankruptcy Judge

Copies to:

Office of the United States Trustee
833 Chestnut Street, Suite 500
Philadelphia, PA 19107

Edmond M. George, Esquire
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